               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA

 BRADLEY DAVIDS                      )
                                     )   Case No. 3:14-cv-00228-HRH
                    Plaintiff,       )
                                     )   [PROPOSED]
        vs.                          )
                                     )   ORDER GRANTING
 UNITED STATES OF AMERICA,           )   JOINT STIPULATION
                                     )   FOR DISMISSAL
                    Defendant.       )
                                     )

      The Parties’ Stipulation for Dismissal is GRANTED.

      This matter is dismissed with prejudice, each party to bear its own

costs and attorney fees.


Date: ___________________           _________________________________
                                    H. Russell Holland
                                    U.S. District Court Judge




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